         Case 1:20-cr-00661-CM Document 28 Filed 01/27/22 Page 1 of 6
         Case 1:20-cr-00661-CM   Document 6-1 Filed 02/11/21 Page 1 of 6

                                                                  USDCSDNY
                                                                  DOCUMENT
UNITED STATES DISTRICT COURT                                      ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK
                                         -   -    -   X           DOC#: _ _ _
                                                                  DAit FILED:
                                                                                    --+IJ1)a,,}:Y.
                                                                                        ,--+--
UNITED STATES OF AMERICA

      - v. -                                                  Protective Order

AMIR BRUNO ELMAANI ,                                          20 Cr . 661    (CM)
   a/k/a " Bruno Block ,"

                      Defendant .

                                         -   -    -   X


The Honorable Colleen McMahon , Chief District Judge :

             On the joint motion of the United States of America , by

Audrey    Strauss ,   United     States          Attorney ,     through     her     counsel ,

Margaret     Graham    and     Drew     Skinner ,           Assistant     United        States

Attorneys (the "G overnment " ) , pursuant to Federal Rule of Criminal

Procedure 16(d) ,     on consent of the defendant Amir Bruno Elmaani ,

a/k/a " Bruno Block ," through his counsel John Mitchell , Esq ., and

for good cause shown ,

             IT IS HEREBY ORDERED :

             1.    With the exception of otherwise publicly available

documents and information , all materials , including documents and

the   information     contained       therein ,           electronic    data ,    and    other

audio or visual materials that are provided by the Government to

the defendant in this act i on pursuant to Rule 16 of the Federal

Rules of Criminal Procedure ; Title 18 , United States Code , Section
      Case 1:20-cr-00661-CM Document 28 Filed 01/27/22 Page 2 of 6
       Case 1:20-cr-00661-CM       Document 6-1 Filed 02/11/21 Page 2 of 6




3500 ; Brady v. Maryland ; or Giglio v . United States, are considered

"Confidential Information ."

              2.   Confidential Information disclosed to the defendant

or to his counsel in this case during the course of proceedings in

this action :

                   a.      Shall be used by the defendant and his counsel

only for purposes of defending this criminal action ;

                   b.      Shall    not   be    disclosed    in   any    form   by    the

defendant or his counsel except as                set forth in paragraph 2 ( c)

below ; and

                   c.      May   be    disclosed     by    the    defendant     or    his

counsel in this action only to the following persons                      (hereinafter

" Designated Persons " ) :

                          i .      investigative ,        secretarial ,     clerical ,

paralegal and student personnel employed full - time or part - time by

the defense counsel ;

                         ii .      expert        witnesses ,           investigators ,

advisors ,     consultants       and   vendors     retained       or    consulted       by

defendant and/or his counsel in connection with th i s ac t ion ;

                        iii .      prospective       witnesses ,          and        their

counsel ,    to the extent deemed necessary by defense counsel ,                       for

the purposes of the criminal proceedings in th i s case ; and




                                            2
• I
              Case 1:20-cr-00661-CM Document 28 Filed 01/27/22 Page 3 of 6
                Case 1:20-cr-00661-CM Document 6-1 Filed 02/11/21 Page 3 of 6




                                 iv .      such other persons as hereafter may be

      authorized by agreement , in writing, of the parties or by the Court

      upon the defendant ' s motion .

                      3.      Confidential Information disclosed to the defendant

      or his counsel during the course of proceedings in this action ,

      including any and all copies made of said material , shall , at the

      conclusion of this matter , either be returned to the Government or

      shredded        and   destroyed .         This       matter    will    be    concluded        upon

      expiration of either the conclusion of any litigation related to

      the above - captioned case , including direct appeal and collateral

      attack , or dismissal of the charges against the defendant .

                      4.      The defendant or his counsel shall provide a copy

      of   this       Order    to    Designated        Persons        to    whom       they   disclose

      Confidential          Information     pursuant         to     paragraphs         2 (c) (ii)- (iv).

      Designated Persons shall be subject to the terms of this Order

      and , if they are given possession of any Confidential Information ,

      shall sign an acknowledgment , to be retained by defense counsel ,

      indicating that they have received and reviewed the terms of this

      Order     and    understand        that   they       are    bound     by    it    before      being

      provided with any materials produced pursuant to terms of this

      Order .      The      signed      acknowledgments           required       pursuant      to    this

      paragraph shall not be disclosed by the defense except pursuant to

      an order of the Court for the purpose of enforcing this Protective

      Order .     In addition ,         if Confidential Information is provided to


                                                       3
        Case 1:20-cr-00661-CM Document 28 Filed 01/27/22 Page 4 of 6
        Case 1:20-cr-00661-CM Document 6-1 Filed 02/11/21 Page 4 of 6




any    Designated       Persons ,        those       Designated     Persons    shall      make

reasonable efforts to return or destroy such materials as set forth

in paragraph 3 .

            5.        The provisions of this Order shall not be construed

as preventing the disclosure of any information in any motion ,

hearing   or     trial       held   in    this       action   or    to   any   district     or

magistrate judge of this Court for purposes of this action .

            6.        The Government may at any time during the pendency

of this proceeding designate documents or materials constituting

Confidential Information as " Highly Confidential ," when ,                             in the

good faith determination of the Government ,                         disclosure of such

documents or materials is prohibited by statute or regulation or

otherwise is not in the public interest .                          The defendant and his

counsel    will        not     attach       any       materials       designated        Highly

Confidential pursuant to this Order to any public filings with the

Court or publicly disclose any such materials , or their contents

in any other manner ,           without either giving prior notice to the

Government or seeking an Order of the Court permitting the use of

the materials .

            7.         If any dispute should arise between the parties to

this    action    as     to   whether       any      documents ,     materials     or    other

information      is    Confidential         Information or           Highly Confidential

subject to the provisions of this Order , such doc uments , materials

and information shall be considered Confidential Information or ,


                                                 4
        Case 1:20-cr-00661-CM Document 28 Filed 01/27/22 Page 5 of 6
         Case 1:20-cr-00661-CM Document 6-1 Filed 02/11/21 Page 5 of 6




if so designated pursuant to paragraph 5 ,                    Highly Confidential ,

pending further Order of this Court .

              8.     The    terms     of    this    Order    shall   not     apply     to

documents , data , or information received by the defendant from a

source other than Confidential Information .                     To the extent that

the    Government ' s      discovery       contains      documents   that    are     also

publicly available          (without fault of the defendant) ,              nothing in

this   Order       shall   restrict    the    use   of    such   publicly    available

documents .




                                             5
          Case 1:20-cr-00661-CM Document 28 Filed 01/27/22 Page 6 of 6
          Case 1:20-cr-00661-CM     Document 6-1 Filed 02/11/21 Page 6 of 6
                                                                                            -
              9.     Nothing   in    this    Protective Order         shall    preclude

defense      counsel    from      entering       into   an     agreement      with    the

Government ,       and/or seeking an order from this Court ,                  excluding

certain     specified    discovery      materials       from    the   scope    of    this

Protective Order .

Dated :
              :n9: .
              New York , New York
                                     2021


                                         THE HONORABLE COLLEEN MCMAHON
                                         CHIEF UNITED STATES DISTRICT JUDGE
                                         SOUTHERN DISTRICT OF NEW YORK




                                             6
